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[N THE UNI'I`E]) STATES DISTRICT COURT
FOR THE EASTERN I)ISTRICT OF PENNSYLVANIA

 

BRENDON BROPHY
306 Berry Street :
Mount Joy, PA 17552 : Civil Action No.:
Plaintii`f, : .]URY TRIAL DEMANDED
v. :

THE HARTLEY DOERING GROUP, INC. d/b/a
ROSSMOYNE ANIMAL EMERGENCY
TRAUMA CENTER
4930 Ritter Road, Suite 101
Mechanicsburg, PA 17055

Defendant.

 

COMPLAINT - CIVIL ACTION
Plaintiff, Brendon Brophy (“Plaintift”), by and through his undersigned attorney, for his
Complaint against the Hartley Doering Group, lne. d/b/a Rossmoyne Animal Emergeney Traurna
Center (“Defendant”), alleges as follows:

NATURE OF THE ACTION

l. Plaintiti` initiates this action contending Defendant interfered With and violated his
rights under the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101 et. seq., the
Family and Medical Leave Act (“FMLA”), 29 U.S.C. § 2601, et seq., and Pennsylvania common
laW, and ultimately terminated his employment in retaliation for his attempts to exercise those
rights in violation of the same. As a result, Plaintiff has suffered damages as set forth herein.

PARTIES
2. Plaintiii`, Brendon Brophy is a citizen of the United States and Pennsylvania and
currently maintains a residence located at 306 Berry Street, Mount loy, PA 175 52.
3. Defendant, the Hartley Doering GroupJ Inc. d/b/a Rossmoyne Animal Emergency

Trauma Center, is a corporation existing under the law of the Comrnonwealth of Pennsylvania

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With a principal place of business located at 493() Ritter Road, Suite 101, Mechanicsburg, PA
17055.
JURISI)ICTION AND VENUE

4. Paragraphs l through 3 are hereby incorporated by reference as though the same
Were fully set forth at length herein.

5. 0n or about December 12, 2017, Plaintiff filed a Charge of Discrimination With
the United States Equal Employment Opportunity Commission (“EEOC”), Which Was dually filed
With the Pennsylvania Human Relations Commission (“PHRC”), thereby satisfying the
requirements of 29 U.S.C. § 621, et seq. Plaintist EEOC charge Was docketed as EEOC Charge
No. 530-2018-01268. Plaintiff’s EEOC Charge Was fried Within one hundred and eighty (180)
days of the unlawful employment practice.

6. By correspondence dated August ll, 2018, Plaintiff received a Notice of Right to
Sue from the EEOC regarding his Charge, advising him that he had ninety (90) days to tile suit
against Defendant.

7. Plaintiff has therefore exhausted his administrative remedies and has complied
with all conditions precedent to maintaining this action.

8- This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331
and 1343, as it is a civil rights action arising under the laws of the United States.

9. The venue in this district is proper pursuant to 28 U.S.C. § 1391, inasmuch as the
Defendant resides in this judicial districtj doing business therein

FACTUAL BACKGROUND
10. Paragraphs 1 through 9 are hereby incorporated by reference as though the same

were fuily set forth at length herein.

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li. On or about July 22, 2015, Defendant hired Plaintiff to work as a Veterinarian.

12. Upon information and belief, Plaintiff Was hired at Defendant’s trauma center to

tend to the emergency and critical care needs of small animals

l3. Throughout the duration of his employment, Plaintiff performed his job well,

receiving no discipline, positive reviews, occasional praise for his work, and even a promotion
l4. Upon information and belief, in or around October 2015, Plaintiff was promoted
to the position of Medical Director at Defendant’s facility.

15. At all times relevant hereto, Defendant employed fiity (50) or more employees at
or within seventy-five (75) miles of Plaintiff’s worksite.

l6. Plaintiff Worked at least twelve hundred and fifty (1,250) hours for Defendant
during the twelve (12) month period immediately preceding his entitlement to protected medical
leave.

17. On or about April l, 2017, Plaintiff discovered a head technician at Defendant’s
facility, Bobbie Ditzler (“Ms. Ditzler” , illegally used his medical license to order prescription
medication for herself

18. Upon confirming his license was used without his permission, Plaintiff

immediately informed his supervisor, Meg Weil (“Ms. Weil”), of the incident

19. As a result of this breach, Plaintiif became distraught

20. ln fact, Plaintiff was so upset by the illegal use of his license that he suffered a

panic attack while at work.

21. A few days later, on or about April 3, 2017, Plaintiif was seen by his primary care

physician who diagnosed him with anxiety, acute anxiety attacks, and gastritis.

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22. As a result, Plaintiff’ s physician recommended he remain home from work for a
period of six (6) weeks in order to recover and be reevaluated

23. Plaintiff immediately followed up with Defendant, providing the necessary
medical documentation and paperwork to l\/ls. Weil.

24. Upon information and belief, Ms. Weil approved PlaintifP s medical leave of
absence to care for his serious health condition(s).

25 . Thereafter, Ms. Weil also confirmed to Plaintiff that Mike Doering (“Mr.
Doering”), a co-owner and manager, and MJ Potter (“Mr. Potter”), one of Defendant’s
veterinarians, also illegally ordered drugs using Plaintiff’ s medical license for their personal use.

26. Following Plaintiff’s request for medical leave, Defendant began treating him
differently

27. For example, on or about Apn`l 12, 2017, Plaintiff attempted to inform his co-
Workers of a fellow veterinarian’s passing on the company’s employee Facebook page only to
find the administrator blocked him.

28. Then, on or about May 9, 2017, Plaintiff received an entail from a co-worker that
showed he was permanently removed from the schedule at Defendant’s facility and his
replacement had already been hired.

29. Two days later, on or about May ll, 2017, Plaintiff received a letter from
Defendant stating he was terminated for being on disability for over thirty (3 0) days, in violation
of his employment contract

30. The employment contract specifically states Defendant may terminate Plaintiff for
cause if during a period of “twelve (12) consecutive months” Plaintiff is “not able to perform

fulltime work for thirty (3 0) days in an employment year” due to his disability

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31. As such, upon information and belief, this provision of Plaintist employment
contract is a per se violation of the ADA.

32. Plaintist aforementioned conditions constitute both serious health conditions
under the FMLA, and disabilities within the meaning of the ADA, in that these conditions
substantial impaired one or more of Plaintiff’ s major life activities, such as his ability to think,
concentrate, and sleep.

33. As such, Defendant failed to engage in the interactive process to determine a
reasonable accommodation, which would have permitted Plaintif`f to perform the essential
functions of his job, in violation of the ADA.

34. lt is believed and therefore averred l)efendant terminated Plaintiff’ s employment
because of his actual and/or perceived disabilities, and in retaliation for his request for an
accommodation in connection thereto.

35. lt is further believed and therefore averred Defendant terminated Plaintiff’s
employment because he exercised his right to protected leave to seek treatment for his serious
health condition.

36. As a result of Defendant’s deliberate, willful, malicious, and unlawful actions,
Plaintiff has suffered damages, including, but not limited to, loss of employment, promotion
benefits, earnings and earnings potential, loss of potential benefits, and other economic damages,
and has also suffered mental anguish, emotional pain and suffering, emotional distress,

humiliation, and damage to reputation

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COUNT I
THE AMERICANS WITH DISABILITIES ACT
42 U.S.C. 8 12101 et. sea.
DISCRIMINATI()N, RETALIATION. AND FAILURE TO ACCOMM()DATE

37. Paragraphs l through 36 are hereby incorporated by reference as though the same
were fully set forth at length herein

38. At all times relevant hereto, Plaintiff was an employee within the meaning of the
Americans with Disabilities Act of 1990.

39. Pursuant to the ADA, Plaintiff is a qualified individual with one or more
disabilities

40. Plaintiff”s anxiety, acute anxiety attacks, and gastritis limited his ability to engage
in major life activities, including thinking, concentrating, and sleeping

41. Defendant was aware of Plaintiff’s disabilities and/or regarded Plaintiff as being
disabled

42. Plaintiffs request for medical leave for the above-mentioned condition(s)
constituted a request for a reasonable accommodation

43. By reasons of the foregoing, Defendant, through its agents, officers, servants,
and/or employees has violated the ADA by terminating Plaintiff`s employment because of his
actual and/or perceived disabilities and request for a reasonable accommodation in connection
thereto.

44. lt is further alleged that, by reasons of the foregoing, Defendant unlawfully failed
to provide reasonable accommodations for Plaintiff’s disabilities

45 . As a result of Defendant’s deliberate, unlawful, and malicious actions as set forth

above, Plaintiff has suffered loss of employment earnings, raises, other significant economic

benefits, emotional pain and suffering, emotional distress and humiliation

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WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully
requests that this Court enter judgment in his favor and against Defendant, and grant him the
maximum relief allowed by law, including, but not limited to:

a) Back wages, front pay, and bonuses in an amount to be determined at trial, but not
less than one hundred and fifty thousand dollars ($150,000.00);

b) Punitive, compensatory, and/or exemplary damages in an amount to be
determined at trial, but sufiicient to punish Defendant for its intentional, negligent, willful,

wanton, and/or malicious conduct;

c) Plaintiff’s costs, disbursements and attorneys’ fees incurred in prosecuting this
action;

d) Pre~judgment interest in an appropriate amount; and

e) Such other and further relief as is just and equitable under the circumstances;

f) Any verdict in favor of Plaintiff is to be molded by the Court to maximize the
financial recovery available to Plaintiff in light of the caps on certain damages as set forth by

applicable federal law.

COUNT II
FAMILY AND MEDICAL LEAVE ACT
29 U.S.C. § 2601, et seg.
INTERFERENCE AND RETALIA'I`ION
46. Paragraphs l through 45 are hereby incorporated by reference as though the same
were fully set forth at length herein
47. Defendant is a “covered employer” within the meaning of the FMLA.

48. Plaintiff was an “eligible employee” under the FMLA and was entitled to twelve

(12) weeks of protected, unpaid leave to care for his serious medical condition

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49. Defendant violated the FMLA by: (a) using Plaintiff’ s FMLA-qualifying medical
leave as a negative factor in its decision to terminate Plaintiff’ s employment, (b) by terminating
Plaintiff because of his FMLA-qualifying leave request; and (c) by terminating Plaintiff for
taking FMLA~qualifying leave and/or in retaliation for attempting to exercise his rights under the
FMLA.

50. The aforementioned actions constitute both interference and retaliation violations
of the FMLA.

51. Plaintiff has, because of Defendant’s wrongful termination of his employment,
been unable to obtain other employment, has suffered significant wage losses and loss of
potential bonuses

WHEREFORE, as a result of the unlawful conduct of the Defendant, Plaintiff`
respectfully requests that this Court enter judgment in her favor and against Defendant, and grant
her the maximum relief allowed by law, including, but not limited to:

a) Back wages, front pay, and bonuses in an amount to be determined at trial, but not
less than one hundred and fifty thousand dollars ($150,000.00);

b) Liquidated darnages;

c) Plaintist costs, disbursements, and attorney’s fees incurred in prosecuting this
action;

d) Any verdict in favor of Plaintiff is to be molded by this Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable federal law;
e) Pre~judgment interest in an appropriate amount; and
t) Such other and further relief as is just and equitable under the circumstances

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COUNT III
PENNSYLVANIA WORKER’S COMPENSATION ACT/
WRONGFUL DISCHARGE UNDER PENNSYLVANIA COMMON LAW
77 P.S. § 1-1031 er seg.
RETALIATION

52. Paragraphs l through 51 are hereby incorporated by reference as though the same
were fully set forth at length herein

53. At all times relevant hereto, Defendant was subject to the provisions of the
PWCA.

54. Plaintiff suH`ered a work-related injury and requested workers’ compensation
benefits connected thereto.

55. As a result of Plaintiff’ s workplace injuries set forth above, Plaintiff filed a
petition for worker’s compensation benefits against Defendants.

56. The PWCA, in pertinent part, prohibits an employer from taking any adverse
employment action against an employee in retaliation for that employee exercising his right to
file a petition for worker’s compensation benefits thereunder_

57. lt is believed and therefore averred that Defendant unlawfully violated
Pennsylvania’s Worker’s Compensation Law and/or the public policy exception to
Pennsylvania’s common law tradition of at-Will employment by unlawfully and retaliatory
terminating Plaintiff’ s employment because of Plamtiffs claim for benefits under Pennsylvania’s
Worker’s Compensation Law.

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

and against Defendant and grant him the maximum relief allowed by law, including, but not

limited to;

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Back wages, front pay, loss of fringe benefits, and raises in an amount to be

determined at trial, but not less than one hundred and fifty thousand dollars ($150,000.00);

b)
C)
d)

e)

Compensatory, exemplary, and/or punitive damages;
Pre-judgment interest in an appropriate amount; and
Such other and further relief as is just and equitable under the circumstances;

Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable law.

JURY DEMAND

Plaintiff hereby demands a trial by jury as to all issue so triable

   

 

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Dated: November 6, 2018

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DEMAN]) TO PRESERVE EV{DENCE
The Defendant is hereby demanded to preserve all physical and electronic information
pertaining in any way to Plaintiff`s employment, to his potential claims and his claims to
damages, to any defenses to the same, including, but not limited to, electronic data storage,
employment files, files, memos, job descriptions, text messages, e-mails, spreadsheets, images,
cache memory, payroll records, paystubs, time records, timesheets, and any other information

and/or data which may be relevant to any claim or defense in this litigation

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